Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 1 of 10                   PageID 452



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
                 Plaintiff,                           )
                                                      )
  vs.                                                 )       Cr. No. 15-cr-20174-SHL
                                                      )
  JOHNNIE WILBORN,                                    )
  TRAVIS HUSTON,                                      )
  DEXTER WHITE,                                       )
  BRITTANY HUSTON, and                                )
  JANICE WHITE.                                       )
                                                      )
                 Defendants.                          )


                           GOVERNMENT’S RESPONSE TO
                         DEFENDANTS’ MOTION TO DISMISS


         The United States of America, by Edward L. Stanton III, United States Attorney

  for the Western District of Tennessee, and through Reagan M. Taylor, Assistant United

  States Attorney, hereby files this response in opposition to the Defendants’ Motion to

  Dismiss, and respectfully requests that the Motion be denied.

                                      BACKGROUND

         The Defendants are charged in a two count indictment with the following

  offenses: (1) Conspiracy to Possess with Intent to Distribute a mixture and substance

  containing Methamphetamine, in violation of 21 U.S.C. Section 846; and (2) Conspiracy

  to Commit Offenses against the United States, in violation of 18 U.S.C. Section 1956(h).

  Defendant Janice White is only indicted in Count Two of the indictment.




                                              1
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 2 of 10                          PageID 453



                                          ARGUMENT

          In their motion, the Defendants, without supporting citations from the Sixth

  Circuit, allege that Count Two of the Indictment is fatally flawed for varying reasons.

  First, the Defendants allege that, on its face, the Indictment is insufficient in that it fails to

  identify any specific “factual allegations to support a finding that [the Defendants]

  engaged in financial transactions designed to conceal or disguise, promote the carrying

  on, or avoid a reporting requirement under Federal law.” Defendants’ Motion at 5 – 6.

  Second, the Defendants allege that the Indictment is faulty in that “it fails to properly

  identify the crime as set forth in 18 U.S.C. Sec. 1956(h).” Id. at 6. Next, the Defendants

  allege, without support, that the Indictment charging conspiracy to commit money

  laundering “does not create a continuing offense and that each individual financial

  transaction of criminal activity must be charged as a separate count.” (emphasis added)

  Id. at 7. Therefore, the Indictment’s failure to do so is fatal. Lastly, the Defendants argue

  that even if this Court were to find that conspiracy to commit money laundering is a

  continuing offense, “the United States [should] still be required to allege the specific

  financial transactions that formed the basis of the conspiracy.” Id. at 12. We address

  each of the Defendant’s arguments in order.

  I.    Count Two of the Indictment contains sufficient factual allegations to notify the
  Defendants of the charges against to which they are accused.

          Count Two of the Indictment in this matter charges the Defendants as follows:

          Beginning at a time unknown to the Grand Jury, but through at least in or
          about July 2015, in the Western District of Tennessee and elsewhere, the
          defendants:

                                         Johnnie Wilborn,
                                          a/k/a “T-Baby,”
                                           a/k/a “T-Dot,”

                                                  2
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 3 of 10                  PageID 454



                                      Travis Huston,
                                     a/k/a “Ball-out,”
                                      Dexter White,
                                   Brittany Huston, and
                                       Janice White,

        did unlawfully, knowingly and intentionally combine, conspire,
        confederate and agree with each other and with other persons known and
        unknown to the Grand Jury to commit offenses against the United States
        in violation of Title 18, United States Code, Section 1956, to wit:

        (a)     to knowingly conduct and attempt to conduct a financial
        transaction affecting interstate and foreign commerce, which involved the
        proceeds of a specified unlawful activity, that is, conspiracy to commit
        drug trafficking in violation of Title 21 U.S.C. 846, with the intent to
        promote the carrying on of specified unlawful activity, that is conspiracy
        to commit drug trafficking, in violation of Title 21 U.S.C. 846, and that
        while conducting and attempting to conduct such financial transaction
        knew that the property involved in the financial transaction represented the
        proceeds of some form of unlawful activity, in violation of Title 18,
        United States Code, Section 1956(a)(1)(A)(i); and

        (b)     to knowingly conduct and attempt to conduct financial transactions
        affecting interstate commerce and foreign commerce, which transactions
        involved the proceeds of specified unlawful activity, that is, conspiracy to
        commit drug trafficking in violation of Title 21 U.S.C. 846, knowing that
        the transactions were designed in whole or in part to conceal and disguise
        the nature, location, source, ownership, and control of the proceeds of
        specified unlawful activity, and that while conducting and attempting to
        conduct such financial transactions, knew that the property involved in the
        financial transactions represented the proceeds of some form of unlawful
        activity, in violation of Title 18, United States Code, Section
        1956(a)(1)(B)(i); and

        (c)     to knowingly conduct and attempt to conduct financial transactions
        affecting interstate commerce and foreign commerce, which transactions
        involved the proceeds of specified unlawful activity, that is conspiracy to
        commit drug trafficking, in violation of Title 21 U.S.C. 846, knowing that
        the transaction was designed in whole and in part to avoid a transaction
        reporting requirement under Federal law, and that while conducting and
        attempting to conduct such financial transaction knew that the property
        involved in the financial transaction represented the proceeds of some
        form of unlawful activity, in violation of Title 18, United States Code,
        Section 1956(a)(1)(B)(ii); all in violation of Title 18, United States Code,
        Section 1956(h).



                                             3
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 4 of 10                       PageID 455



         Federal Rule of Criminal Procedure 7(c)(1) requires an indictment to include “a

  plain, concise, and definite written statement of the essential facts constituting the offense

  charged.” The Supreme Court has long held that an indictment is sufficient if it contains

  both the elements of the offense charged and fairly informs a defendant of the charges in

  which he faces. Further, the indictment must enable a defendant to either “plead and

  acquittal or conviction” barring future prosecutions for the same offense. Hamling v.

  United States, 418 U.S. 86, 117 (1974). Contrary to the Defendants’ allegation, it is

  disputed that the indictment fails to allege facts with respect to Count Two. The Court in

  Hamling proscribed it sufficient “that an indictment set forth the offense in the words of

  the statute itself, as long as ‘those words of themselves fully, directly, and expressly,

  without any uncertainty or ambiguity, set forth all the elements necessary to constitute the

  offense intended to be punished.” Id. The indictment in the instant matter is just the

  indictment anticipated by the Court in Hamling. The instant indictment tracks the

  language of 18 U.S.C. § 1956, and enunciates the offenses for which the defendants are

  charged, describing through each subsection the criminal behavior which underlies the

  Indictment.

         The Defendants appear to argue that the indictment should contain additional

  information, such as would be contained in a bill of particulars, in order to suffice the

  requirements of Fed. R. Crim. P. 7(c)(1). That argument is incorrect. Neither the Rule

  nor the Supreme Court requires such allegations in an indictment for conspiracy to

  commit money laundering. The Court in Hamling did hold that the “language of a statute

  may be used in the general description of an offence, but it must be accompanied with

  such a statement of the facts and circumstances as will inform the accused of the specific



                                                4
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 5 of 10                    PageID 456



  offence, coming under the general description, with which [they] are charged.” The

  Defendants construe the Court, without support, to require the government to provide

  both over acts and manner and means for any charge alleged in an Indictment. In this

  Indictment, as in others, the United States included such a statement as described by the

  Hamling Court, describing not only the approximate date(s) and location of the offense

  (Western District of Tennessee), but also the other persons alleged to have participated in

  the offense with the Defendants.

  II.    The specific elements for conviction under 18 U.S.C. Sec. 1956(h) need not be
  alleged in the charging document.

         The Defendants accurately state that Count Two of the Indictment charges the

  Defendants with conspiracy to commit money laundering, which includes one or more

  financial transactions that they are alleged to have committed in the stated timeframe of

  the indictment. The Defendants, relying on the Third Circuit case of United States v.

  Garcia Abrego, 141 F.3d 142, 163 (5th Cir. 1998), suggest that the indictment must detail

  the required proof of the charge, i.e.:

         (1)     [t]he conspiracy, agreement, or understanding to commit money
         laundering was formed, reached, or entered into by two or more persons,
         (2)     at some time during the existence or life of the onspiracy,
         agreement or understanding, one of its alleged members knowingly
         performed one of the overt acts charged in the indictment in order to
         further or advance the purpose of the agreement; and
         (3)     at some time during the existence or life of the conspiracy,
         agreement, or understanding, the defendant knew the purpose of the
         agreement, and then deliberately joined the conspiracy, agreement or
         understanding.

  Defendants’ Motion at 6 (citing Garcia Abrego, at 163).

         Garcia Abrega does not stand for the proposition that the aforementioned

  elements must be pleaded in an indictment for conspiracy to commit money laundering.



                                               5
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 6 of 10                     PageID 457



  To the contrary, the cited discussion by the Court in Garcia Abrega dealt more to the

  point of whether a conviction for conspiracy to commit money laundering required proof

  of an overt act in furtherance of the conspiracy. Garcia Abrega, at 163-64. While noting

  that that Section 1956(h) is virtually identical to the drug conspiracy statue in 21 U.S.C.

  Section 846, which does not require proof of an overt act, the Court did not decide that

  issue. Id. at 164. Therefore, the instant indictment is sufficient under the standards of

  both Hamling and the Fed. R. Crim. P. 7(c)(1).

  III.    The offense of Conspiracy to Commit Money Laundering is a continuing offense
  and is properly charged in the Indictment.

         The Defendants argue that 18 U.S.C. § 1956(h) does not create a continuing

  offense and that each individual financial transaction of criminal activity must have been

  charged as separate counts in the indictment. Defendants’ Motion at 7. Were there a

  count in the indictment for the substantive act of money laundering, the Defendants may

  have valid argument. However, the Sixth Circuit has not taken the Defendants’ proposed

  position. Rather, the Sixth Circuit posits in United States v. Robertson, that there is no

  authority in this Circuit for that proposition. Robertson, 67 Fed. Appx. 257, 268 (6th Cir.

  2003). In Robertson, a defendant (Rorrer) appealed his conviction and argued that his

  money laundering conviction “must be vacated because he was convicted for a ‘non-

  offense,’” a similar argument as posed in the instant motion. Id. “Namely, [Rorrer’s]

  indictment states that he committed a number of acts in the course of and in furtherance

  of the conspiracy to launder money, but this was erroneous because ‘[s]ection 1956 does

  not make money laundering a continuing offense.’” Id. The Court held:


         Rorrer correctly identifies authority for the proposition that the crime of
         substantive money laundering is not a continuing offense, and that in such

                                                6
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 7 of 10                    PageID 458



         cases the government must allege and prove specific, discrete financial
         transactions. See Marshall, 248 F.3d at 540; United States v. Kramer, 73
         F.3d 1067, 1072 (11th Cir. 1996); United States v. Gray, 101 F.Supp.2d
         580, 585 (E.D. Tenn. 2000). Nevertheless, Rorrer cites no authority for
         the proposition that the crime of conspiracy to launder money, under 18
         U.S.C. [Section] 1956(h), is not a continuing offense, nor are we aware of
         any. See United States v. Edgecomb, 910 F.2d 1309, 1312 (6th Cir.
         1990)(noting that “[c]onspiracy is a continuing crime.”) We conclude that
         this challenge fails.

  Id. See also Brown v. United States, 2009WL2849776 (E.D. Tenn.)(Defendant’s claim
  that an indictment is flawed because a charge of conspiracy to commit money laundering
  does not refer to a particular financial transaction, but rather several unspecified
  transactions, lacks merit.)

         The instant matter is distinguishable from the cases cited by the Defendants. See

  Defendants’ Motion at 7-9. In those cases, the Courts addressed the issue of whether the

  substantive offense of money laundering was a continuing offense, and those courts (as

  has the Sixth Circuit) ruled that it was not. None of those Courts addressed the issue that

  arises in this case, whether the offense of conspiracy to commit money laundering is a

  continuing offense. And as mentioned above, the Sixth Circuit has reviewed the issue

  and ruled accordingly. See Robertson, at 268.

         The Defendants also attempt to distinguish the instant matter from the Second

  Circuit’s decision in United States v. Moloney, 287 F.3d 236 (2nd Cir. 2002), which held

  that a single money laundering count can encompass multiple acts provided that each act

  is part of a unified scheme. Like the other cases cited by the Defendants, the Moloney

  case charged the defendant with substantive money laundering, and that was the count to

  which that defendant pled guilty. Again, the Court made no findings with respect to

  whether conspiracy to commit money laundering was a continuing offense.

         The Fourth Circuit has however addressed this exact issue. In United States v.

  Bolden, 325 F.3d 471 (4th Cir. 2003), the Court addressed the issue of whether an

                                               7
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 8 of 10                         PageID 459



  indictment charging conspiracy to commit money laundering was defective because “(1)

  it failed to allege any overt acts; (2) it failed to identify the specified unlawful activity

  that produced the proceeds [the defendants] conspired to launder; and (3) it failed to

  specify the offense defined in [Section] 1956(a)(1) . . .that the [defendants] conspired to

  commit.” Bolden, at 490-91. The Court ultimately held that the indictment was not

  faulty. On the second issue of the indictment’s failure to identify specified unlawful

  activity the court said, “We have observed that ‘[t]he core of money laundering … is the

  laundering transaction itself,’ and that ‘details about the nature of the unlawful activity

  underlying the character of the proceeds need not be alleged.’” Id. at 491.

  IV.    Overt acts need not be alleged in an indictment charging conspiracy to commit
  money laundering under 18 U.S.C. Sec. 1956(h).

          The Defendants, citing no authority, argue in their Motion that, even if the

  conspiracy is a continuing offense, the government should be required to allege specific

  financial transactions that formed the basis of the conspiracy. The Defendants allege that

  there is a “widely accepted proposition that ‘course of conduct’ money laundering fails to

  allege a crime.” Defendants’ Motion at 12.

          There is no requirement that the United States either allege or prove an overt act

  under a violation of 18 U.S.C. Sec. 1956(h). United States v. Musick, 291 Fed. Appx.

  706, 715 (6th. Cir. 2008)(citing Whitefield v. United States, 543 U.S. 209, 219 (2005)).

  All the government must prove in such cases is that the defendant “Agreed with another

  person to violate the substantive provision of the money-laundering statute during the

  period alleged in the indictment.” Id.

          The Court in Bolden held that Section 1956(h) does not require an overt act to be

  either alleged or proven, saying:

                                                  8
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 9 of 10                      PageID 460



         As we observed in United States v. Godwin (citation omitted), “a
         conspiracy under 18 U.S.C. Section 1956(h), as opposed to a conspiracy
         under 18 U.S.C. Section 371, does not explicitly require proof of an overt
         act.” In addressing a similar challenge to the drug conspiracy statute, the
         Supreme Court, in United States v. Shabani (citation omitted) held that an
         overt act is not an element of 21 U.S.C. Section 846. As the Court
         observed, Congress explicitely required the commission of an overt act as
         an element of the conspiracy defined in 18 U.S.C. Section 371, and the
         Court concluded that Congress must be presumed to have acted
         deliberately in failing to include similar language in Section 846. The
         drug and money laundering conspiracy statutes – Section 846 and Section
         1956(h) – are drawn in similar terms and neither requires and overt act.
         (citations ommited) Thus, because an overt act is not an element of a
         Section 1956(h) offense, there was no need for the grand jury to make
         such an allegation in [the indictment].

  Bolden, at 491.

         Further, it appears that the Defendants argue that the government failed to identify

  a specific provision of 1956(a) that the Defendants are alleged to have violated, and

  hence, the indictment is unclear. Defendants’ Motion at 13. The Defendants provide no

  statutory or court authority for that position, however the Court in Bolden held that an

  indictment charging conspiracy to commit money laundering was not required to allege

  the specific type of money laundering that was conspired by the Defendants. Bolden, at

  492 (“[c]ourts have uniformly upheld multiple-object conspiracies, and they have

  consistently concluded that a guilty verdict must be sustained if the evidence shows that

  the conspiracy furthered any one of the objects alleged.”).

                                       CONCLUSION

         For the reasons stated above, the United States respectfully requests that this

  Court find that the indictment sufficiently sets for the offense charged, and that as such,

  the Defendants’ Motion to Dismiss should be DENIED.




                                                9
Case 2:15-cr-20174-SHL Document 216 Filed 01/04/16 Page 10 of 10                   PageID 461




  Respectfully submitted this the 4th day of January, 2016.



                                                        EDWARD L. STANTON, III
                                                        United States Attorney


                                                        ______-S-_________________
                                                        REAGAN M. TAYLOR
                                                        Assistant United States Attorney
                                                        TN BPR#: 024743
                                                        167 N. Main Street, Ste. 800
                                                        Memphis, TN 38103
                                                        (901) 544-4231




                               CERTIFICATE OF SERVICE

         I, Reagan M. Taylor, Assistant United States Attorney for the Western District of

  Tennessee, hereby certify that a copy of the foregoing has been forwarded to defense

  counsel for the defendants via the court=s electronic case filing system.

  Respectfully submitted this 4th day of January, 2016.



                                                        s/ Reagan M. Taylor
                                                        REAGAN M. TAYLOR
                                                        Assistant United States Attorney




                                               10
